        Case 3:20-cv-00697-JR         Document 1      Filed 04/28/20   Page 1 of 22




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                           UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF OREGON - PORTLAND DIVISION


ADAM PEARSON, et al,                              Civil Case No.:

      Plaintiffs, (listed on Exhibit A)
                                                  COMPLAINT
v.
                                                  JURY TRIAL DEMANDED
PORCH.COM INC., a Delaware
corporation; GOSMITH INC. a Delaware              47 U.S.C. § 227 (Telephone Protection)
corporation; MATTHEW                              28 U.S.C. § 1961 (Judgment Interest)
EHRLICHMAN, CEO and co-founder of                 28 U.S.C. § 1920 (Costs)
Porch.com Inc. and CEO of GoSmith, Inc.,
in his individual capacity; BRENTON
MARRELLI, CEO and co-founder of
GoSmith Inc., in his individual capacity;
and DARWIN WIDJAJA, CTO and
co-founder of GoSmith Inc. and VP of
Porch.com Inc., in his individual capacity,

      Defendants.




Complaint- 1
            Case 3:20-cv-00697-JR       Document 1      Filed 04/28/20     Page 2 of 22




                                            Introduction
         Adam Pearson and 154 other individuals (“Plaintiffs”) bring this action seeking to
 enforce Plaintiffs’ rights to privacy under the Telephone Consumer Protection Act (“TCPA”),
 47 U.S.C. § 227. The TCPA is a federal statute enacted in 1991 in response to widespread
 public outrage about the proliferation of intrusive, nuisance telemarketing practices. See Mims
 v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).
         GoSmith Inc, Porch.com Inc, Matthew Ehrlichman, Darwin Widjaja, and Brenton
 Marrelli (“Defendants”) have blatantly violated the TCPA by using an automatic telephone
 dialing system, or “ATDS”, to send telemarketing text messages to Plaintiffs’ cellular

 telephone numbers for the purposes of selling leads to home improvement contractors. Further
 violating the TCPA, Defendants sent text messages to Plaintiffs despite Plaintiffs’ presence on

 the National Do Not Call Registry.
         Plaintiffs have standing under the TCPA to bring this action before the Court, which

 Plaintiffs now do, and respectfully request relief.
                                            I.    Parties

         1.     There are 155 Plaintiffs in this lawsuit, each of whom is a “person” as defined by

 47 U.S.C. § 153 (39). For the name, county, and state of each Plaintiff, see Exhibit A.
         2.     Defendant Porch.com (“Porch.com”) is a Delaware corporation with its principal

 place of business at 2201 1st Ave. S. Seattle, WA 98134.
       3.       Defendant GoSmith, Inc. (“GoSmith”) is a Delaware corporation with its

principal place of business at 1250 Borregas Ave, Sunnyvale, CA 94089.
         4.     Defendant Matthew Ehrlichman (“Ehrlichman”) is a “person” as defined by 47

 U.S.C. § 153 (39) and is a resident of King County, Washington.
         5.     Defendant Brenton Marrelli (“Marrelli”) is a “person” as defined by 47 U.S.C. §

 153 (39) and is a resident of San Mateo County, California.
         6.     Defendant Darwin Widjaja (“Widjaja”) is a “person” as defined by 47 U.S.C. §

 153 (39) and is a resident of Alameda County, California.


 Complaint- 2
        Case 3:20-cv-00697-JR           Document 1       Filed 04/28/20    Page 3 of 22




                                  II.   Jurisdiction and Venue

       7.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§ 1331, as the action arises under the TCPA, which is a federal statute.

       8.    This Court has personal jurisdiction over all Defendants because they all were
involved in conducting a significant amount of business in this District, soliciting businesses in

this District, and sending unsolicited text messages to this District.
       9.    Venue is proper in this District under 28 U.S.C. § 1391(b) because all Defendants

were involved in conducting a significant amount of business within this District and all
engaged in significant telemarketing to this District.

                       III. Statement of Facts Common to All Claims
       10.   GoSmith has sent 27,454 text messages to Plaintiffs using an Automatic

Telephone Dialing System. See Exhibit A.
       11.   Of these messages, GoSmith has sent 8,954 text messages to Plaintiffs’ phone

numbers that are registered on the National Do Not Call Registry. See Exhibit A. These are

residential phone numbers which Plaintiffs use in their home-based-businesses.
       12.   Plaintiffs received more than one text message from GoSmith within a 12-month
period. In fact, many Plaintiffs received multiple text messages from GoSmith in a single day.

       13.   The business model of GoSmith and Porch.com is to sell leads to home

improvement contractors. The leads that GoSmith and Porch.com sell are of people looking for

help with services such as painting, landscaping, plumbing, etc.
       14.   Starting around August 2012 until 2019, GoSmith developed and engaged in

massive programmatic web scraping, scraping the websites of Yelp.com, YellowPages.com,

BBB.org, and other similar web pages. In doing so, GoSmith obtained the information of over

ten million contractors nationwide.
       15.   Each time GoSmith scraped a new contractor, GoSmith stored the information of

the contractor in GoSmith’s own database. The information GoSmith stored for each contractor

included the contractor’s company name, city, state, zip code, phone number, the category of


Complaint- 3
        Case 3:20-cv-00697-JR          Document 1        Filed 04/28/20         Page 4 of 22




services the contractor provides, the exact URL where GoSmith scraped the information, the

date the information was first scraped, and more. See Exhibit B.

        16.   When storing the information, GoSmith generated a unique ProviderID for each
contractor. The ProviderID increased sequentially for each new contractor that GoSmith stored

in its database (e.g. 11401, 11402, 11403, 11404, etc). Thus, GoSmith used a sequential

number generator to store each phone number and associated information for each contractor.

        17.   GoSmith then sent automated text messages to contractors who had a mobile
phone number.

        18.   Reverse phone number lookups on the text messages show that GoSmith used

Sprint Business, Bandwidth, and other similar telephone providers to send the text messages.

        19.   Sprint Business and Bandwidth allow users to send text messages via an API so
that text messages can be sent programmatically and automatically. In fact, with Bandwidth,

the only way to send text messages is using their API and cloud infrastructure.

        20.   The messages GoSmith sent to Plaintiffs typically say: “[Name] is wanting

[service] in [city]. You have 1st priority. Reply 1 if interested, 3 if not.”

        21.   Here is an example of a text message GoSmith sent to Plaintiff Adam Pearson:




Complaint- 4
       Case 3:20-cv-00697-JR         Document 1       Filed 04/28/20     Page 5 of 22




       22.   The manner in which GoSmith wrote and responded to the messages show that an

automated system—and not a human—sent and responded to the messages.

       23.   A human who manually sends and responds to a text message conversation does
not tell someone “Reply 1 if interested, 3 if not.” Rather, these numbers are codes for an

automated system to receive a response, interpret the message, and automatically respond.

       24.   Here are just a few examples of text messages from GoSmith showing that when

contractors respond with “1” or “3”, GoSmith sent an automated response. But when
contractors respond with a question or try to have a conversation, nobody responds:




Complaint- 5
       Case 3:20-cv-00697-JR         Document 1      Filed 04/28/20     Page 6 of 22




       25.   Additionally, here is another example of a contractor who received five of the

exact same text messages from GoSmith, all from different phone numbers, within a 7 minute

time span. This clearly is an automated system gone awry:




       26.   All of this indicates that GoSmith (i) stored phone numbers to be dialed in
GoSmith’s database, (ii) coded their system to integrate with telephone providers such as
Bandwidth and others that allow for programmatic and automatic text messaging, and (iii) then

sent automated text messages at scale to the stored numbers. Thus, GoSmith knowingly and
willfully sent the text messages using an automatic telephone dialing system.
       27.   At no time did Plaintiffs provide their phone number or information to GoSmith

or any of the other Defendants. Plaintiffs never consented, in any form, to receive automated
text messages from GoSmith or any of the other Defendants.

       28.   Because GoSmith obtained Plaintiffs’ information by scraping third party
websites, it is impossible that GoSmith or the other Defendants can say they relied on
Plaintiffs’ websites or other marketing materials to construe that Plaintiffs somehow gave

GoSmith or the other Defendants consent to be messaged.
       29.   The URL links included in the text messages directed contractors to gosmith.com:




Complaint- 6
       Case 3:20-cv-00697-JR         Document 1       Filed 04/28/20    Page 7 of 22




       30.   Many text messages contained URLS such as www.smithjobs-2.com. These were
custom URLs that redirected to gosmith.com when clicked, and allowed GoSmith to track the

behavior and activity of the contractors GoSmith was text messaging.
       31.   The WHOIS domain information for smithjobs-2.com shows the registrant name
as Darwin Widjaja and registrant email as darwin@gosmith.com. This shows Widjaja was

involved in the technological set up and administration of these telemarketing campaigns.
       32.   The domain gosmith.com is owned and controlled by GoSmith and was

GoSmith’s website until GoSmith shut it down January 31, 2020. All of this indicates that the
text messages were sent by GoSmith.
       33.   When a contractor clicked any of the URLs to view a lead, the contractor was

required to purchase credits to receive the lead information.
       34.   Also, if contractors asked GoSmith for more information by texting “2”, GoSmith
sent this message: “Our system runs on appointment credits, 1 credit is $8. We guarantee a

connection with the homeowner or we'll refund your credits. Reply 1 to get started.”
       35.   This indicates that GoSmith was selling leads, not merely giving them away. The

text messages were thus business solicitations and constitute telemarketing.




Complaint- 7
       Case 3:20-cv-00697-JR        Document 1       Filed 04/28/20     Page 8 of 22




       36.   None of the text messages asked Plaintiffs if they wanted to come work for
Defendants or offered Plaintiffs employment at GoSmith or Porch.com, and thus were not
messages regarding employment or job opportunities.

       37.   Marrelli is the co-founder of GoSmith and personally created, set up, ran, and
oversaw GoSmith’s marketing from its inception. In a declaration filed in August 2017
Marrelli stated: “I am the Chief Executive Officer (‘CEO’) of GoSmith, Inc. (‘GoSmith’), and I

have held this position since January 2017. In my role as CEO of GoSmith, I am involved in
nearly every facet of GoSmith’s operations and have comprehensive personal knowledge of

GoSmith’s business model and internet operations.” Declaration of Brenton Marrelli in Support
of Defendant GoSmith, Inc.'s Motion to Compel Arbitration in Rojas v. GoSmith, Inc., (N.D.
Ind. 2017), 17-cv-00281, Dkt. 16-2, ¶ 2 (emphasis added) (attached hereto as Exhibit C).

       38.   Widjaja, is the co-founder of GoSmith, and personally created, set up, ran, and
oversaw GoSmith’s marketing from its inception. In a declaration filed October 2017 Widjaja

stated: “I am the Chief Technology Office (‘CTO’) of GoSmith, Inc. (‘GoSmith), and I have
held this position since January 2017. In my role as CTO of GoSmith, I am involved in nearly
every facet of GoSmith’s operations and have comprehensive personal knowledge of

GoSmith’s business model and internet operations.” Declaration of Darwin Widjaja in Support
of Defendant GoSmith, Inc.'s Motion to Compel Arbitration in La Force v. GoSmith, Inc.,
(N.D. Cal. 2017), 4:17-CV-05101, Dkt. 16-1, ¶ 2 (emphasis added) (attached hereto as Exhibit

D).
       39.   On LinkedIn, Marrelli lists himself as the CEO of GoSmith (2012 - Present), and

Widjaja lists himself as the CTO of GoSmith (2012 - Present). See
https://www.linkedin.com/in/brentonmarrelli/ and https://www.linkedin.com/in/darwinwidjaja/,
last accessed on January 30, 2020 2:25 p.m. MST.

       40.   Widjaja shares on his LinkedIn profile that: “My co-founder [Marrelli] and I
bootstrapped the company and in 5 years, we were able to grow the service to cover nationwide
and reaching [sic] $10M in annual revenue. Prior to an acquisition by Porch.com in January


Complaint- 8
        Case 3:20-cv-00697-JR         Document 1       Filed 04/28/20     Page 9 of 22




2017, I was building and managing a team of engineers, designer [sic] and customer success
managers.” See https://www.linkedin.com/in/darwinwidjaja/, last accessed on January 30, 2020

2:25 p.m. MST.
       41.   Marrelli and Widjaja, as the co-founders and CEO/CTO of GoSmith, have been

directly involved in the strategy, approval, set up, and execution of the telemarketing
campaigns referenced in this complaint which have violated the TCPA.
       42.   After Porch.com acquired GoSmith in January 2017, GoSmith became a

wholly-owned subsidiary of Porch.com.
       43.   GoSmith’s foreign business filing in Washington shows Ehrlichman and Marrelli

are GoSmith’s Governors. GoSmith’s foreign business filing in California shows Ehrlichman is
GoSmith’s CEO.
       44.   As the CEO and Governor of GoSmith, Ehrlichman has also been directly

involved in the strategy and continued approval of the telemarketing campaigns referenced in
this complaint which have violated the TCPA.
       45.   Marrelli, Widjaja, and Ehrlichman have been actual participants in these TCPA

torts because they have personally authorized, overseen, and directed the illegal telemarketing.
Each of them is therefore personally liable as tort participants.

       46.   In the past three years, GoSmith has been sued 10 times for TCPA violations. In
each lawsuit, Marrelli, Widjaja, and Ehrlichman have been given actual and constructive notice
that GoSmith’s telemarketing was problematic and illegal, yet they defended and continued to

authorize GoSmith’s telemarketing. Thus each of them has explicitly and implicitly authorized
and engaged in the illegal telemarketing and they are each personally liable as tort participants.
       47.   In addition to Marrelli, Widjaja, and Ehrlichman being personally liable as tort

participants, Porch.com has also participated in the illegal marketing and is therefore liable.
       48.   Porch.com has intentionally used the corporate form to prevent Porch.com from

being liable for illegal telemarketing. Treating Porch.com and GoSmith as a single corporation
is necessary to avoid the injustice which would result from treating them as distinct entities.


Complaint- 9
       Case 3:20-cv-00697-JR          Document 1        Filed 04/28/20    Page 10 of 22




       49.   Under the doctrine of corporate veil piercing, Porch.com is liable for GoSmith’s
illegal text messages.
       50.   Such a unity of ownership and interest exists between GoSmith and Porch.com

that the separate corporations of GoSmith and Porch.com no longer existed before GoSmith
was dissolved in January 2020. This is evidenced by following facts:
        i.   GoSmith is inadequately capitalized. GoSmith intentionally and wilfully exposed

             itself to hundreds of millions of dollars in TCPA violations with no sufficient
             means to pay for these liabilities. GoSmith closed its doors at the end of January

             2020, and now has few to no assets.
       ii.   GoSmith and Porch.com have commingled their assets. Here are six examples of
             their commingling:

                 i.   First, at https://forum.nachi.org/t/porch-gosmith/120546, a user named
                      Vince Del Fine reported in December 2017: “I received a lead from both

                      [Porch.com and GoSmith] and it’s the same client. Not the first time
                      either.” To this, another user named Frank Rotte responded, “I believe they
                      are one in [sic] the same. I signed up with Porch as a client looking for a

                      home inspection, and received a text from Smith, as the inspector, asking
                      if I was interested in the job.” Id.
                ii.   Second, GoSmith’s website showed detailed information regarding the

                      leads GoSmith was texting to contractors, including the source of each
                      lead. Virtually all of the leads since January 2017—when Porch.com

                      acquired GoSmith—show the source of the leads as: “PorchSharedLeads.”
                      In other words, in an effort to find contractors for Porch.com’s leads,
                      Porch.com used GoSmith to send text messages to contractors nationwide.

                      See Exhibit E; see also Declaration of Thomas Alvord.
              iii.    Third, at the end of January 2020 when GoSmith was winding down,
                      GoSmith sent text messages to contractors informing the contractors that


Complaint- 10
      Case 3:20-cv-00697-JR           Document 1      Filed 04/28/20      Page 11 of 22




                      their info would be automatically migrated to Porch.com:




                iv.   Fourth, if a contractor clicked the URLs in any of GoSmith’s text

                      messages during the last week of January 2020, the contractor was
                      automatically logged into an online dashboard on GoSmith.com, and saw
                      this message:




                v.    Fifth, the data that loaded behind the scenes when accessing the contractor
                      dashboard showed that GoSmith saved multiple fields of data for each
                      contractor, including these two fields: The first was called




Complaint- 11
      Case 3:20-cv-00697-JR         Document 1      Filed 04/28/20      Page 12 of 22




                   “PorchMigrationState,” which indicated whether GoSmith had migrated
                   the contractor to Porch.com. The second was called “PorchCompanyID,”

                   which referenced the company id that Porch.com used for that contractor.
                   See Exhibit B.
             vi.   Sixth, many of the text messages GoSmith sent came from numbers such
                   as 650-250-7911 and 650-250-7913. CNAM is an authoritative database
                   that the phone companies use to identify the entity or person behind a

                   telephone number. A CNAM lookup on these numbers returns the name
                   “Porchcom Inc.” In other words, GoSmith and Porch.com shared the same
                   phone numbers to send text messages to contractors and/or GoSmith has
                   merged its phone numbers and infrastructure into Porch.com.
     iii.   GoSmith has been the mere instrumentality of Porch.com for a single venture.

            This is readily seen in the examples above regarding commingling of assets.
            Porch.com used GoSmith to expand its contractor network, and GoSmith funneled
            all of their contractors to Porch.com. The purpose of this single venture is to build
            a single, massive network of contractors nationwide for Porch.com.
      iv.   Porch.com has used GoSmith as a subterfuge for illegal transactions. The text

            messages GoSmith sent violate the TCPA. After 10 TCPA class actions have been
            brought against GoSmith in the last three years, Porch.com clearly had actual
            and/or constructive knowledge that GoSmith’s telemarketing was illegal. But
            Porch.com continued to intentionally abuse the corporate form and spam
            contractors through GoSmith because doing so allowed Porch.com to escape the
            legal consequences of their actions and evade the legal duty not to violate the

            TCPA. These acts were taken by GoSmith in the interest of Porch.com rather than
            GoSmith’s own interest.




Complaint- 12
       Case 3:20-cv-00697-JR         Document 1      Filed 04/28/20      Page 13 of 22




       v.    Porch.com and GoSmith have identical officers. On LinkedIn, Widjaja not only
             lists himself as the CTO of GoSmith, but also as a VP of Porch.com. Additionally,
             Erhlichman is the CEO Porch.com and the CEO of GoSmith.
      vi.    Both Porch.com and GoSmith employ attorneys from Manatt, Phelps & Phillips,
             LLP.

       51.   Porch.com has had actual and/or constructive knowledge of GoSmith’s blatant
TCPA violations. Porch.com has allowed GoSmith to continue to spam because of the benefit
to Porch.com’s own contractor network. Porch’s conduct has clearly been improper. To allow
Porch.com to hide behind GoSmith’s corporate veil would be unfair, unjust, inequitable, and
would prevent Plaintiffs from obtaining any meaningful remedy because GoSmith has shut
down, has transferred its assets to Porch.com, and now has few to no assets

       52.   In addition to piercing the corporate veil, Porch.com is also vicariously liable for
text messages that GoSmith sent seeking contractors for Porch.com’s leads. In sending these
text messages, GoSmith was the agent of Porch.com via actual authority and ratification.
       53.   Porch.com acquired GoSmith in 2017 and then integrated their two systems such
that Porch.com would send its leads to GoSmith, and have GoSmith send out text messages

seeking to find contractors for these leads. Clearly GoSmith reasonably believed that
Porch.com wanted GoSmith to send text messages for each of these new leads, otherwise
Porch.com wouldn’t have sent GoSmith its leads and integrated their two systems. Thus
GoSmith had actual authority to act on behalf of Porch.com.
       54.   Even in the virtually impossible event there weren’t actual authority, there was

also ratification because GoSmith was sued 10 times in the past 3 years while Ehrlichman was
the CEO of GoSmith and Porch.com, and while Widjaja was the CTO of GoSmith VP of
Porch.com. This is an externally observable indication that Porch.com had actual knowledge of
material facts regarding GoSmith’s telemarketing, and Porch.com chose to accept the benefits
of GoSmith’s acts by continuing to send leads to GoSmith for GoSmith to then send text
messages seeking contractors for these leads.


Complaint- 13
       Case 3:20-cv-00697-JR         Document 1      Filed 04/28/20     Page 14 of 22




       55.   In the unlikely event Porch.com was aware of the GoSmith lawsuits but chose to
be unaware of the material facts regarding GoSmith’s telemarketing, Porch.com was willfully
ignorant of GoSmith’s telemarketing, and thus ratified GoSmith’s telemarketing.
       56.   By sending hundreds of text messages to Plaintiffs, Defendants harmed Plaintiffs

in the exact way that Congress sought to prevent by enacting the TCPA.
       57.   Plaintiffs have suffered lost time, an annoyance, a nuisance, and an invasion of
privacy because of the text messages.
                                     IV.   Legal Standard
       i.    The National Do Not Call Registry

       58.   Congress, via the TCPA, authorized a rulemaking proceeding to explore how to
best “protect residential telephone subscribers’ privacy rights.” 47 U.S.C. § 227(c)(1).
       59.   The end result of the rulemaking proceeding was the creation of the National Do
Not Call Registry (“Registry”). The Registry is a single national database of telephone
numbers where residential telephone subscribers can object to receiving telephone solicitations.
Telephone solicitations to numbers on the Registry are prohibited. 47 C.F.R. §64.1200(c)(2).

       ii.   Prohibitions on Automated, Artificial, and Prerecorded Telemarketing Calls
       60.   In 1991, Congress passed the TCPA to regulate the explosive growth of the
telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing…
can be an intrusive invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L.
No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

       61.   The TCPA makes it unlawful “to make any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice … to any telephone
number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii).
       62.   The TCPA defines an "automatic telephone dialing system" (“ATDS”) as

"equipment that has the capacity - (A) to store or produce telephone numbers to be called,




Complaint- 14
       Case 3:20-cv-00697-JR           Document 1        Filed 04/28/20     Page 15 of 22




using a random or sequential number generator; and (B) to dial such numbers." 47 U.S.C. §
227(a)(1).
        63.   Courts have explained that the statutory definition of an ATDS means “equipment

which has the capacity—(1) to store numbers to be called or (2) to produce numbers to be
called, using a random or sequential number generator—and to dial such numbers.” See Marks
v. Crunch San Diego, LLC, 904 F.3d 1041, 1052 (9th Cir. Sep. 20, 2018).
        64.   In 2012, the FCC issued an order tightening the restrictions for automated
telemarketing calls, requiring “prior express written consent” for such calls to wireless

numbers. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act
of 1991, 27 FCC Rcd. 1830, 1838 [8] ¶¶18, 20 (February 15, 2012) (emphasis supplied).
        65.   To obtain express written consent for telemarketing calls, a defendant must
establish that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and
conspicuous disclosure’ of the consequences of providing the requested consent. . . . [and]

having received this information, agrees unambiguously to receive such calls at a telephone
number the [plaintiff] designates.” Id at 1843 [13] ¶32 (citing the FTC’s rules for telemarketing
calls, codified at 16 C.F.R. § 310.4(b)(v)(A)(i), (iii), (iv).
        66.   The TCPA regulations promulgated by the FCC define “telemarketing” as the
initiation of a telephone call or message for the purpose of encouraging the purchase or rental
of, or investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12).

        67.   In determining whether a communication constitutes telemarketing, a court must
evaluate the ultimate purpose of the communication. See Golan v. Veritas Entm't, LLC, 788
F.3d 814, 820 (8th Cir. 2015).
        68.   “Neither the TCPA nor its implementing regulations ‘require an explicit mention
of a good, product, or service’ where the implication of an improper purpose is ‘clear from the

context.’” Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).
        69.   The FCC has explained that calls motivated in part by the intent to sell property,
goods, or services are considered telemarketing under the TCPA. See In re Rules and


Complaint- 15
         Case 3:20-cv-00697-JR         Document 1       Filed 04/28/20     Page 16 of 22




Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.

14014, ¶¶ 139-142 (2003). This is true whether call recipients are encouraged to purchase, rent,
or invest in property, goods, or services during the call or in the future. Id.
         70.    If a call is not deemed telemarketing, a defendant must nevertheless demonstrate
that it obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulations
Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (July 10,
2015) (requiring express consent “for non-telemarketing and non-advertising calls”).

         71.    The FCC has issued rulings and clarified that consumers are entitled to the same
consent-based protections for text messages as they are for calls to wireless numbers. See
Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009).
         iii.   Individual Officer Liability
         72.    Under the TCPA, an individual may be personally liable pursuant to 47 U.S.C. §

217, which provides that the “act, omission, or failure… of any officer… acting for or
employed by any common carrier or user, acting within the scope of his employment, shall in
every case be also deemed to be the act, omission, or failure… of such carrier or user as well as
of that person.” 47. U.S.C. § 217.
         73.    To violate the TCPA is to commit a tort, and a “corporate officer is individually

liable for the torts he personally commits and cannot shield himself behind a corporation when
he is an actual participant in the tort.” Donsco, Inc. v. Casper Corp., 587 F. 2d 602 (3d Cir.
1978).
         74.    When considering individual officer liability, Courts have agreed that a corporate
officer involved in the telemarketing may be personally liable under the TCPA. See, e.g., City
Select Auto Sales Inc. v. David Randall Assocs., Inc., 885 F.3d 154, (3d Cir. 2018) (“[A]

corporate officer can face personal liability under the TCPA for actions he personally
authorized or took.”)(J. Schwartz, concurring in the majority opinion, which reads: “a
corporate officer can be personally liable [under the TCPA] if he . . . actively oversaw and
directed the conduct.”); Jackson Five Star Catering, Inc. v. Beason, 2013 U.S. Dist. LEXIS


Complaint- 16
       Case 3:20-cv-00697-JR            Document 1    Filed 04/28/20     Page 17 of 22




159985, *10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate actors can be
individually liable for violating the TCPA "where they 'had direct, personal participation in or
personally authorized the conduct found to have violated the statute.'”); Maryland v. Universal
Elections, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011) (“If an individual acting on behalf of a
corporation could avoid individual liability, the TCPA would lose much of its force.”).

       iv.   Piercing the Corporate Veil
       75.   Under Oregon law, courts pierce the corporate veil—and and hold a parent
corporation liable for the subsidiary’s acts—when: (1) the parent “controlled or shared in the
actual control” of the subsidiary; (2) the parent “engaged in improper conduct in the exercise of
control” over the subsidiary; and (3) the parent’s “improper conduct must have caused the
plaintiff's inability to obtain an adequate remedy” from the subsidiary.” Salem Tent & Awning

Co. v. Schmidt, 719 P.2d 899, 903 (Or. App. 1986).
       76.   Actual control can be evidenced by shared directors and officers, ownership, and
control of day-to-day operations. Id.
       77.   Improper conduct can be shown through undercapitalization, misrepresentation,
commingling, or statutory violation in which a parent corporation “in order to evade federal or

state regulation, [does] business by means of [a] wholly-owned subsidiar[y]].” Amfac Foods,
Inc. v. International Systems & Controls Corp., 654 P.2d 1092, 1101-03 (Or. 1982). Improper
conduct also includes failure to keep corporate records, and the parent’s permitting the
subsidiary to dissolve and transfering all of its personal property to the parent. See Schmidt,
719 P.2d at 903.

       78.   Causation can be shown by the plaintiff’s demonstrating “a relationship between
the misconduct and the plaintiff’s injury.” Amfac Foods, 654 P.2d at 1103.
       v.    Vicarious Liability
       79.   For more than twenty years, the FCC has explained that its “rules generally
establish that the party on whose behalf a solicitation is made bears ultimate responsibility for




Complaint- 17
         Case 3:20-cv-00697-JR          Document 1       Filed 04/28/20     Page 18 of 22




any violations.” In re Rules & Regulations Implementing the TCPA, 10 FCC Rcd 12391, 12397
(¶ 13) (August 7, 1995).
          80.   In 2008, the FCC likewise held that a company on whose behalf a telephone call
is made bears the responsibility for any violations. See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 23 FCC Rcd. 559, 564 (January
4, 2008).
          81.   In 2013, the FCC instructed that Defendants may not avoid liability by
outsourcing their telemarketing to third parties. In re Joint Petition Filed by DISH Network,
LLC et al. for Declaratory Ruling Concerning the TCPA Rules, 28 FCC Rcd 6574, 6588 ¶37

(2013).
          82.   The FCC stated that corporations are “vicariously liable under federal common
law principles of agency for violations of either section 227(b) or section 227(c) that are
committed by third-party telemarketers.” Id. at 6574. This includes principles of formal
agency, apparent authority, and ratification. Id. at 6584.
          83.   Federal common law agency principles are based off of the Restatement (Third)

of Agency. Henderson v. United Student Aid Funds, Inc., 918 F.3d 1068, 1072-73 (9th Cir.
2019).
          84.   An agent has actual authority when “the agent reasonably believes... that the
principal wishes the agent so to act.” Restatement (Third) of Agency § 2.01 (2006).
          85.   An agent has apparent authority when “a third party reasonably believes the actor

has authority to act on behalf of the principal and that belief is traceable to the principal's
manifestations.” Restatement (Third) of Agency § 2.03 (2006).
          86.   If there is no agency relationship, ratification can create one. Ratification can
happen in one of two ways: (i) When there is an “externally observable indication” that a
principal has “[actual] knowledge of material facts” regarding a third party’s acts, and accepts

the benefits of—and consents to—said acts; or (ii) When a principal is “willful[ly] ignoran[t]”




Complaint- 18
       Case 3:20-cv-00697-JR          Document 1      Filed 04/28/20      Page 19 of 22




of the material facts of a third party’s acts. Henderson v. United Student Aid Funds, Inc., 918
F.3d 1068, 1073-74 (9th Cir. 2019).
       vi.   Standing Under the TCPA

       87.   Any residential telephone subscriber on the Registry who has received more than
one telephone solicitation “within any 12-month period by or on behalf of the same entity”
may bring an action for damages. 47 U.S.C. § 227(c)(5).
       88.   The TCPA also provides a private right of action for persons who receive
automated, artificial, or prerecorded calls in violation of 47 U.S.C. § 227(b)(1)(A). See 47

U.S.C. § 227(b)(3).
       89.   In an action under 227(b), a plaintiff must only show that the defendant “called a
number assigned to a cellular telephone service using an automatic dialing system or
prerecorded voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla.
2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).

       90.   A plaintiff alleging a violation under the TCPA “need not allege any additional
harm beyond the one Congress has identified.” Van Patten v. Vertical Fitness Grp., LLC, 847
F.3d 1037 (9th Cir. 2017) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)).
       91.   The receipt of a telemarketing or unsolicited call “demonstrates more than a bare
violation and satisfies the concrete-injury requirement for standing.” Leyse v. Lifetime Entm't
Servs., LLC, Nos. 16-1133-cv, 16-1425-cv, 2017 U.S. App. LEXIS 2607 (2d Cir. 2017) (citing

In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 105 (2d Cir. 2013)
("The injury-in-fact necessary for standing need not be large; an identifiable trifle will
suffice."); Golan v. Veritas Entm't, LLC, 788 F.3d 814, 819-21 (8th Cir. 2015) (holding that
receipt of two brief unsolicited robocalls as voicemail messages was sufficient to establish
standing under TCPA).

       92.   Congress made clear that the TCPA was meant to protect both consumers and
businesses. Congress enumerated 15 findings when passing the TCPA, four of which explicitly
reference businesses and Congress’s intent to protect them:


Complaint- 19
        Case 3:20-cv-00697-JR           Document 1     Filed 04/28/20     Page 20 of 22




          i.   “The use of the telephone to market goods and services to the home and other

               businesses is now pervasive due to the increased use of cost-effective
               telemarketing techniques.” Congressional Statement of Findings, § 2, Pub.L.
               102-243.(emphasis added).
         ii.   “Over 30,000 businesses actively telemarket goods and services to business and
               residential customers.” Id. (emphasis added).
        iii.   “Businesses also have complained to the Congress and the Federal

               Communications Commission that automated or prerecorded telephone calls are a
               nuisance, are an invasion of privacy, and interfere with interstate commerce. Id.
               (emphasis added).
        iv.    The Federal Communications Commission should consider adopting reasonable
               restrictions on automated or prerecorded calls to businesses as well as to the

               home, consistent with the constitutional protections of free speech. Id. (emphasis
               added)
       93.     The FCC has stated that residential telephone subscribers who also use their
phone number for business purposes are not precluded from adding their number on the Registry.
Indeed, the FCC has “decline[d] to exempt from the do-not-call rules those calls made to

‘home-based businesses.’” Rules & Regulations Implementing the Telephone Consumer
Protection Act of 1991, 20 FCC Rcd. 3788, 3793 (2005).
                                   V.     First Cause of Action:
                                        Illegal Use of an ATDs
         94.   Plaintiffs incorporate by reference all of the above paragraphs of this Complaint
 as though fully stated herein.

         95.   The Defendants’ use of an ATDS to contact Plaintiffs constitutes a violation of 47
 U.S.C. § 227(b).




 Complaint- 20
       Case 3:20-cv-00697-JR           Document 1      Filed 04/28/20     Page 21 of 22




        96.   As a result of Defendants’ 27,454 knowing and/or willful violations of 47 U.S.C.
§ 227(b), Plaintiffs are entitled to an award of $1,500.00 in statutory damages, for each and
every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
        97.   Alternatively, as a result of Defendants’ 27,454 negligent violations of 47 U.S.C.
§ 227(b), Plaintiffs are entitled to an award of $500.00 in statutory damages, for each and every

violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
        98.   Plaintiffs are also entitled to and seek injunctive relief prohibiting such conduct in
the future.
                                  VI. Second Cause of Action:
              Illegal Solicitation of Persons on the National Do Not Call Registry
        99.   Plaintiffs incorporate by reference all of the above paragraphs of this Complaint

as though fully stated herein.
        100. Defendants’ contact of Plaintiffs’ cellular phone numbers on the National Do Not
Call Registry constitutes a violation of 47 U.S.C. § 227(c) and 47 C.F.R. §64.1200(c).
        101. As a result of Defendants’ 8,954 knowing and/or willful violations of 47 U.S.C. §
227(c), Plaintiffs are entitled to an award of $1,500.00 in statutory damages for each and every

violation, pursuant to 47 U.S.C. § 227(c)(5)(B) and 47 U.S.C. § 227(c)(5)(C).
        102. Alternatively, as a result of Defendants’ 8,954 negligent violations of 47 U.S.C. §
227(c), Plaintiffs are entitled to an award of $500.00 in statutory damages for each and every
violation, pursuant to 47 U.S.C. § 227(c)(5)(B).

        103. “Congress evidenced its intent that a person be able to recover for the
telemarketer's failure to institute the minimum procedures for maintaining a do-not-call list as
well as the additional harm of the call being automated.” Thus, “a person may recover statutory
damages of $1500 for a willful or knowing violation of the automated-call requirements, §
227(b)(3), and $1500 for a willful or knowing violation of the do-not-call-list requirements, §
227(c)(5)—even if both violations occurred in the same telephone call.” Charvat v. NMP, LLC,
656 F.3d 440, 448-9 (6th Cir. 2011).


Complaint- 21
       Case 3:20-cv-00697-JR           Document 1       Filed 04/28/20      Page 22 of 22




        104. Plaintiffs are also entitled to and seek injunctive relief prohibiting such conduct in
the future.
                                      VII. Relief Requested
        105. WHEREFORE, Plaintiffs respectfully request the Court grant Plaintiffs the
following relief against Defendants:
        106. Plaintiffs seek an amount not less than $41,181,000 as a result of Defendants’
27,454 violations of 47 U.S.C. § 227(b).

        107. Plaintiffs seek an amount not less than $13,431,000 as a result of Defendants’
8,954 violations of 47 U.S.C. § 227(c).
        108. Plaintiffs seek costs pursuant to 28 U.S.C. § 1920.
        109. Plaintiffs seek judgment interest pursuant to 28 U.S.C. § 1961.
        110. Plaintiffs seek injunctive relief prohibiting such conduct in the future.
        111. Plaintiffs seek any other relief the Court may deem just and proper.


                                       VIII. Jury Demand
        112. Plaintiffs request a trial by jury of all claims that can be so tried.




Date: 4/28/2020                                       Respectfully submitted,
                                                      LawHQ, L LC
                                                      /s/ Michael Zhang              .
                                                      Michael Zhang (Oregon Bar #185180)

                                                      /s/ Rebecca Evans               .
                                                      Rebecca Evans (Utah Bar #16846)
                                                      PHV to be submitted
                                                      (consent 4/21/2020 by email)

                                                      Attorneys for Plaintiffs, listed on Exhibit A




Complaint- 22
